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  8                     UNITED STATES DISTRICT COURT
  9                    CENTRAL DISTRICT OF CALIFORNIA
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 11    DARRYL JOHNSON,                          Case No. 2:20-cv-03272-JVS-PD
 12                     Petitioner,
                                                JUDGMENT
 13         v.
 14    STUART SHERMAN,
 15                     Respondent.
 16
 17         Pursuant to the Court’s Order Accepting the Report and
      Recommendation of United States Magistrate Judge,
 18
            IT IS ADJUDGED that the Petition is dismissed with prejudice.
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 20
 21   DATED: October 25, 2021
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 23
                                           JAMES V. SELNA
 24                                        UNITED STATES DISTRICT JUDGE
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